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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    ) (Jointly Administered)
                                             Debtors.               )
                                                                    )

                        NOTICE OF AGENDA OF MATTERS
                SCHEDULED FOR HEARING ON NOVEMBER 6, 2023
            AT 12:00 P.M. (EASTERN TIME) BEFORE THE HONORABLE
     THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
     STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
      Time on November 3, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

     https://debuscourts.zoomgov.com/meeting/register/vJIsce2gpjMsHmwmUXy1LkT5C7dU92eSQwk

                     COURTCALL WILL NOT BE USED FOR THIS HEARING.


MATTERS GOING FORWARD

1.           DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
             Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
             Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic


1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.



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        Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
        (Docket No. 21).

        Response Deadline: October 20, 2023.

        Responses Received:

        a) Informal comments received from GNMA and the FHA.

        b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
           September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/12/23] (Docket No. 113).

             (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                 September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                 Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                 Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                 Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                 Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                 (Docket No. 115).

        c) Preliminary Objection of Eric Bowlby to Debtors’ First Day Motions [Filed: 8/30/23]
           (Docket No. 44).

        d) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/13/23] (Docket No. 116).

             (i) Declaration of Eric Bowlby, Former CEO and Majority Shareholder of AFI, in
                 Support of Eric Bowlby’s Supplemental Objection to Debtors’ Motion for Entry
                 of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and
                 (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                 Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
                 and (V) Granting Related Relief [Filed: 9/22/23] (Docket No. 154).

        e) Statement of the Official Committee of Unsecured Creditors Concerning the Debtors’
           First Day Motions and Requesting Status Conference [Filed: 9/27/23] (Docket No.
           171).

        f) United States Trustee’s Objection to Debtors’ Motion for Final Order (I) Authorizing
           Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
           Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
           Stay, and (IV) Granting Related Relief [Filed: 10/13/23] (Docket No. 254).


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        g) [SEALED] Preliminary Objection of Official Committee of Unsecured Creditors to
           Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/13/23]
           (Docket No. 256).

        h) [Redacted] Preliminary Objection of the Official Committee of Unsecured Creditors
           to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/18/23]
           (Docket No. 281).

        i)    [SEALED] Amended and Restated Objection of the Official Committee of
             Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
             Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
             Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
             the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
             Relief [Filed: 10/22/23] (Docket No. 310).

        j) [REDACTED] Amended and Restated Objection of the Official Committee of
           Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 10/25/23] (Docket No. 352).

        Replies:

        a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final Order
           (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/14/23] (Docket No. 118).

        b) Debtors’ Supplemental Omnibus Reply in Support of Motion for Interim and Final
           Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
           Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
           (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
           Granting Related Relief [Filed: 10/24/23] (Docket No. 338).

        c) [SEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and
           RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of Debtors’
           Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to




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             Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
             Hearing, and (V) Granting Related Relief [Filed: 10/24/23] (Docket No. 335).

             i.   Motion of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
                  Customized Credit Fund (Fund IV-A), L.P. for Leave to File and Serve a Late
                  Reply in Further Support of the Debtors’ DIP Motion [Filed: 10/24/23] (Docket
                  No. 336).

            ii.   [Signed] Order Granting Motion of RCP Credit Opportunities Fund Loan SPV
                  (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. for Leave to
                  File and Serve a Late Reply in Further Support of the Debtors’ DIP Motion
                  [Filed: 10/25/23] (Docket No. 342).

           iii.   Motion for Entry of an Order Authorizing the Filing of the Reply of RCP Credit
                  Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund
                  (Fund IV-A), L.P. in Further Support of the Debtors’ DIP Motion Under Seal
                  [Filed: 10/27/23] (Docket No. 368).

        d. [REDACTED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
           and RCP Customized Credit Fund (Fund IV-A), L.P., in Further Support of Debtors’
           Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Post-Petition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [D.I.21] [Filed: 10/27/23] (Docket No.
           369).

        Related Documents:

        a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 8/29/23] (Docket No. 37).

        b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
           No. 47).

        c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
           No. 57).

        d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
           and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition


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             Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
             (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

        e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
           for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).

        f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
           Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

        g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

        h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00 p.m.
           (ET) [Filed: 9/14/23] (Docket No. 119).

        i) Notice of Emergency Zoom Hearing September 15, 2023 at 4:00 p.m. [Filed:
           9/15/23] (Docket No. 123).

        j) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/18/23] (Docket No. 138).

        k) Eric Bowlby’s Witness List and Exhibit List for Hearing on September 26, 2023 at
           11:00 a.m. (ET) [Filed: 9/22/23] (Docket No. 155).

        l) Debtors’ Witness and Exhibit List for Hearing on October 2, 2023 at 11:00 a.m. (ET)
           [Filed: 9/28/23] (Docket No. 175).

        m) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
           (Docket No. 203).

        n) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).

        o) Notice of Filing of Proposed Revised Final Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
           (IV) Granting Related Relief [Filed: 10/6/23] (Docket No. 231).

        p) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
           (ET) [Filed: 10/24/23] (Docket No. 328).




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        q) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

        r) Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
           Customized Credit Fund (Fund-Iv-A), L.P. for the Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/24/23] (Docket No. 339).

        s) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

        t) Notice of Filing of Revised Budget [Filed 10/25/23] (Docket No. 353).

        u) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26, 2023
           at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).

        v) Amended Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
           and RCP Customized Credit Fund (Fund-IV-A), L.P. for the Hearing on October 26,
           2023 at 10:00 a.m. (ET) [Filed: 10/26/23] (Docket No. 356).

        w) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 10/27/23] (Docket No. 365).

        Status: This matter will go forward.

2.      Committee Seal Motion – Motion to File Under Seal Certain Information Contained in
        and Exhibits Attached to Preliminary Objection of the Official Committee of Unsecured
        Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors
        (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
        Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
        Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 256) [Filed: 10/18/23]
        (Docket No. 280).

        Response Deadline: At or before the hearing.

        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

        Status: This matter will go forward.

3.      Bowlby Seal Motion – Motion to File Under Seal Certain Information Contained In and
        Exhibits Attached to Reply of Interested Party Eric Bowlby In Support of United States
        Trustee’s Motion to Transfer Venue [Filed: 10/23/23] (Docket No. 326).

        Response Deadline: At or before the hearing.


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        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

        Status: This matter will go forward.

4.      Second Committee Seal Motion – Motion to File Under Seal Certain Information
        Contained in and Exhibits Attached to Amended and Restated Objection of the Official
        Committee of Unsecured Creditors to Motion of the Debtors for Interim and Final Orders
        (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
        Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
        Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (D.I.
        310) [Filed: 10/25/23] (Docket No. 351).

        Response Deadline: At or before the hearing.

        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

        Status: This matter will go forward.



Dated: November 2, 2023                PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
                                       /s/ Laura Davis Jones
                                       Laura Davis Jones (DE Bar No. 2436)
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